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                  UNITED STATES DISTRICT COURT FOR THE
                        DISTRICT OF NEW HAMPSHIRE




United States of America

      V.                                   Criminal No . 08-mj-101-03-JM

Carlos Berrios

                                O R D E R

      Defendant appeared for a bail revocation hearing pursuant to

18 U .S .C . § 3148 .

      Defendant did not dispute that he violated bail by using

marijuana (five times), that he was with a co-defendant or that

he failed to get a job . The government has established that he

committed a crime . Given the number of failed opportunities to

comply with conditions I find that the defendant is unlikely to

abide by any condition or combination of conditions . Th e

conditions of release are revoked .

      Accordingly, it is ORDERED that the defendant be detained

pending trial .

      The defendant is committed to the custody of the Attorney

General or his designated representative for confinement in a

corrections facility separate, to the extent practicable, from

persons awaiting or serving sentences or being held in custody
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pending appeal . The defendant shall be afforded a reasonable

opportunity for private consultation with defense counsel . On

order of a court of the United States or on request of an

attorney for the government, the person in charge of the

corrections facility shall deliver the defendant to the United

States Marshal for the purpose of an appearance in connection

with a court proceeding .

     SO ORDERED .




March 17, 200 9

cc : Arnold H . Huftalen, AUSA
      James W . Dennehy, Esq .
      U .S . Marsha l
      U .S . Probation




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